Case 2'02-cV-02532-BBD-STA Document 49 Filed 05/12/05 Page 1 of 2 Page|D 54

 

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IN THE UNITED STATES DISTRICT CoURT D l ‘ ~ O.O.
FOR THE WESTERN DISTRICT 0F TENNESSEE 95 rme __
WESTERN I)IVISION 9 PH ll U!
MARY T. GODWIN, )
)
Plaintiff, )
)
vs. ) No. 02-2532 D/An
)
CHARLES P. BAKER, )
d/b/a BAKER PROPERTIES, )
)
Defendant. )

 

ORDER RESETTING HEARING

 

Before the Court is Plaintiff"S Motion for Rule 37 Sanctions and/or An Order to Shcw
Cause filed on March 16, 2005. United States District Judge Bernice B. Donald referred this
matter to the Magistrate Judge for determination

A hearing on this Motion is currently Set to be held on May 16, 2005 at 4:45 P.M.,'
however, it is ORDERED that the hearing shall be rescheduled to occur before United States
Magistrate Judge S. Thcmas Anderson on THURSDAY, MAY 19, 2005 at 10:00 A.M. in

Ccurtrocm M-3, 9th Flccr, Federal Building, Memphis, Tennessee.

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(-g. / homes QL¢.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: W/€l? @5: 2(303’d

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:02-CV-02532 Was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

John Hale Freeland

MARKOW WALKER & REEVES, P.A.
P.O. Drawer 50

OXford, MS 38655

Charles P. Baker
6590 Pidgeon Hall Dr.
l\/lemphis7 TN 38119

Thornas Lang Wiseman
WISEMAN BIGGS BRAY PLLC
1665 Bormie Lane

Ste. 106

l\/lemphis7 TN 38016

Honorable Bernice Donald
US DISTRICT COURT

